I$. 44. (Rev. 04/21) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS DEFENDANTS
James Lee Knight and wife Caitlin Knight Ready Mix USA, LLC

 

(b) County of Residence of First Listed Plaintiff Blount (TN) County of Residence of First Listed Defendant Palm Beach (FL)

{EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

 

 

 

 

 

 

 

    

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

(c} Attorneys (Firm Name, Address, and Telephone Number) Attomeys (if Known)
George R. Garrison; 1142 Dolly Parton Parkway, James C. Wright; Butler, Vines and Babb, PLLC; 2701
Sevierville, TN 37802; (865) 453-7990 Kingston Pike, Knoxville, TN 37919; (865) 244-3920
II. BASIS OF JURISDICTION (Place an "X" in One Box Only} Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant}
0 I US. Government O03 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State [x]! ([[] 1 Incorporated or Principal Placc LJ4 Cia
of Business In This State
(12 U.S. Government [*]4 Diversity Citizen of Another State [J2 ([) 2 Incorporated and Principal Place [_] 5  [x]5
Defendant (indicate Citizenship of Parties in Hem [hf of Business In Another State
Citizen or Subject of a (13 (3 Foreign Nation Cle (js
Foreign Country
IV, NATURE OF SUIT (Ptace an “x in One Box Only) Click here for: a apn
| CONTRACT S32 tea | i ee eS TORTS ie ees |. SFORFEITURE/PENALTY BANKRUPTCY, OTHER STATUTES
L10 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Scizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane oO 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act _} 315 Aizplane Product Product Liability | 690 Other 28 USC 157 3729{a)}
140 Negotiable instrument Liability (() 367 Health Cares INTELLECTUAL |_| 400 State Reapportionment
150 Recovery of Overpayment [_] 320 Assault, Libel & Pharmaceutical ___- PROPERTY RIGHTS —— [| 410 Antitrust
& Enforcement of Judgment Slander Personal Injury $20 Copyrights 430 Banks and Banking
151 Medicare Act T] 330 Federal Employcrs’ Product Liability $30 Patent 450 Commerce
H 152 Recovery of Defaulted Liability (L) 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability | 840 Trademark Cormupt Organizations
(_] 153 Recovery of Overpayment . Liability PERSONAL PROPERTY [223 LABOR: ! $80 Defend Trade Secrets t | 480 Consumer Credit
of Veteran's Benefits | 350 Motor Vehicle 370 Other Fraud |_}710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
CT 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act | 485 Telephone Consumer
190 Other Contract Product Liability OJ 380 Other Personal | 720 Labor/Management SOCIAL SECURITY. = Protection Act
195 Contract Product Liability x] 360 Other Personal Property Damage Relations 861 HIA (1395fH) 490 Cable/Sat TV
196 Franchise Injury Cc] 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities‘Commoditics/
] 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) |__ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |_| 890 Other Statutory Actions
[-. - REAL PROPERLY = [00 perks | : TIONS | }790 Other Labor Litigation 865 RSI (405(g)) 891 Agricultural Acts
210 Land Condemnation 449 Other Civil Rights Habeas Corpus: |_}791 Employce Retirement ’) 893 Environmental Matters
220 Foreclosure 44] Voting 463 Alien Detainee Income Security Act ahi ; ‘ is 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) £96 Arbitration
245 Tort Product Liabitity Accommodations 530 General T] 871 IRS—Third Party 4 899 Administrative Procedure
290 All Other Real Property |] 445 Amer. w/Disabilitics -[_] 535 Death Penalty IMMIGRATION. __| 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
"] 446 Amer. w/Disabilities -[_ | 540 Mandamus & Other 465 Other Immigration ] 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
| 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement
¥. ORIGIN (Place an “X" in One Box Only)
ol! Original 2 Removed from oO 3. Remanded from oO 4 Reinstated or oO 5 Transferred from oO 6 Multidistrict oO 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite the U.S. Civil Statute under which you are fiting (De not cite jurisdictional statutes unless diversity):
28 USC 1332, 1441, 1446

Brief description of cause:
Plaintiff alleges injuries resulting from concrete work at Plaintiff's home

VI. CAUSE OF ACTION

 

 

 

 

 

 

VIL REQUESTEDIN (J CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 500,000.00 JURY DEMAND: Elves (No
VII. RELATED CASE(S)
IF ANY (Bee instructions): GE DOCKET NUMBER
DATE SIGNATUBEOF pT TORSEY,OF RECORD
fo / Al de ZL ( eee
FOR OF . USE ONLY

“4
RECEIPT! Case 3:29°100354-TRM-DCP*PRUMent 1 Filed 10/6°82_Page 1 of IM°PRGRID# 1
JS 44 Reverse (Rev, 04/21)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

L(a)

(d)

(c)

I.

Ill.

IV.

YI.

VIL.

VIL.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. in U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R-Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an '"X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box 1 or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code

that is most applicable. Click here for: Nature of Suit Code Descriptions.

Origin. Place an “X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a}. Do not use this for within district transfers or

multidistrict litigation transfers.

Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407,

Multidistrict Litigation — Direct File. (8} Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and ts no longer relevant due to
changes in statute.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.

Case 3:22-cv-00354-TRM-DCP Document1 Filed 10/06/22 Page 2of17 PagelD#: 2
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE

 

d/b/a Ready Mix of Knoxville

KNOXVILLE DIVISION
James Lee Knight and wife, )
Caitlin Knight )
)
Plaintiffs, )
)
Vv. ) No
) JURY DEMANDED
Ready Mix USA, LLC )
)
)
)

Defendant.

DEFENDANT READY MIX USA, LLC’S NOTICE OF REMOVAL

PLEASE TAKE NOTICE THAT pursuant to 28 U.S.C. §§ 1332, 1441, and 1446,
the Defendant, Ready Mix USA, LLC (incorrectly named as Ready Mix USA, LLC
d/b/a Ready Mix of Knoxville), hereby removes this action from the Circuit Court of
Blount County, Tennessee, to the United States District Court for the Eastern District of
Tennessee, Knoxville Division. In support of this Notice of Removal, Defendant, Ready
Mix USA, LLC, avers as follows:

Procedural History and Plaintiff’s Allegations

1. This action was commenced on or about September 1, 2022, by Plaintiffs’
filing of the Complaint in the Circuit Court of Blount County, Tennessee, Case No. L-
21044.

2. Plaintiffs’ Complaint contains allegations of negligence and seeks

compensatory damages in an amount not to exceed Five Hundred Fifty Thousand

[AS 21069/1256376] [Notice of Removal]
Case 3:22-cv-00354-TRM-DCP Document L Filed 10/06/22 Page 3o0f17 PagelD#: 3
Dollars ($500,000.00).
Grounds for Removal
3. The Plaintiff is a domiciliary of Tennessee. The Plaintiff is a citizen of
Tennessee for purposes of Diversity Jurisdiction.

4, The Defendant, Ready Mix USA, LLC, is a limited liability company
formed under the laws of the State of Delaware, with its principal place of business in
Florida at all times relevant hereto.

a The Defendant, Ready Mix USA, LLC, has a sole member: CEMEX
Southeast Holdings, LLC, a Delaware entity with its principal place of business in
Florida.

6. The United States District Court for the Eastern District of Tennessee has
original jurisdiction over this action pursuant to 28 U.S.C. § 1332 as there is complete
diversity of the parties, and the amount in controversy exceeds $75,000.00 exclusive of
interests and costs.

The Procedural Requirements for Removal Have Been Satisfied

7. Removal is timely pursuant to 28 U.S.C. § 1446(b) as this Notice of
Removal is being filed within thirty (30) days of Defendant, Ready Mix USA, LLC,
having been served with the Complaint.

8. Removal to the United States District Court for the Eastern District of
Tennessee, Knoxville Division, is proper as this is the district and division embracing
the Circuit Court of Blount County, Tennessee.

9, Removal is proper as any and all defendants to this action have been

[AS 21069/1256376] 2 {Notice of Removal]

Case 3:22-cv-00354-TRM-DCP Document1 Filed 10/06/22 Page 4of17 PagelD #: 4
served with state-court process and have consented to removal.

10. = After filing this Notice of Removal, Defendant Ready Mix USA, LLC, will
promptly serve written notice of this Notice of Removal on counsel for all adverse
parties and file the same with the Clerk of the Circuit Court of Blount County,
Tennessee, in accordance with 28 U.S.C. § 1446(d). All necessary filing fees will be paid
simultaneously with the filing of the Notice of Removal.

11.‘ True and correct copies of all process, pleadings, and orders served on
the Defendants in the action pending in the Circuit Court of Blount County, Tennessee,
are attached hereto as Exhibit A.

Non-Waiver of Defenses

 

12. By removing this action from the Circuit Court of Blount County,
Tennessee, or consenting to the same, no Defendant thereby waives any defense
available to it.

13. By removing this action from the Circuit Court of Blount County,
Tennessee, or consenting to the same, no Defendant thereby admits any of the
allegations in the Plaintiff's Complaint.

WHEREFORE, Defendant Ready Mix USA, LLC removes the above-captioned
action from the Circuit Court of Blount County, Tennessee, to the United States District

Court for the Eastern District of Tennessee, Knoxville Division.

[AS 21069/ 1256376] 3 [Notice of Removal]

Case 3:22-cv-00354-TRM-DCP Document1 Filed 10/06/22 Page5of17 PagelID#:5
Respectfully submitted this LT ay of October, 2022

P38 [

James C. Wright (BPR # 009285)

Butler, Vines and Babb, PLLC

Attorney for Defendant, Ready Mix USA, LLC
d/b/a Ready Mix of Knoxville

2701 Kingston Pike

Knoxville, TN 37919

865-637-3531

jwright@bvblaw.com

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and exact copy of the foregoing
pleading has been served upon the following by hand delivery, by facsimile or by
placing same in the United States Mail, first-class postage to carry same to its
destination.

George R. Garrison
1142 Dolly Parton Parkway
Sevierville, TN 37862

—
By: : ud

Gy

f
This 7”. day of October, 2022.

[AS 21069/1256376] 4 [Notice of Removal]
Case 3:22-cv-00354-TRM-DCP Document1 Filed 10/06/22 Page6of17 PagelD #: 6
  

m CORPORATE CREATIONS*®

Registered Agent + Director > Incorporation

Corporate Creations Network Inc.
801 US Highway 1 North Palm Beach, FL 33408

   

 

Ready Mix USA, LLC 09/13/2022
Jeana White Corporate Paralegal

CEMEX USA

1720 Centrepark Drive East

West Palm Beach FL 33401

SERVICE OF PROCESS NOTICE
The following is 4 courtesy summary of the enclosed document(s). ALL Information should be verifled by you.

Note: Any questions regarding the substance of the matter described below, including the status or how to respond, should be
directed to the contact set forth in line 12 below or to the court or government agency where the matter is being heard. IMPORTANT:
All changes oF updates to the SOP contact individuals or thelr contact information must be submited in wring to
SOPcontact@corpcreations.com. Any changes will become effective upon written confirmation of Corporate Creations.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1, Entity Served: | Ready Mix USA, LLC
Entity Served If Different: | Ready Mix USA, LLC d/b/a Ready Mix of Knoxville
2. Title of Action: | James Lee Knight and Caitlin Knight vs. Ready Mix USA, LLC d/b/a Ready Mix of Knoxville
3. Document(s) Served: { Civil Summons
Complaint
Plaintiff's First Set of Request for Production of Documents, etc.
Attorney's Certificate
4. CourtAgency: § Blount County Circuit Court
5, State Served: | Tennessee
6. Case Number; | L-21044
7. Case Type: { Personal Injury
8. Method of Service: | Certified Mail
9. Date Received: | Saturday 09/10/2022
10. Date to Client: | Tuesday 09/13/2022
11, # Days When Answer Due: | 30 SIAL CTICE : Cent le solely ' > nalble for verifying the accuracy vol the estimated Answet Due
. lh rr
ead eee wait Opposing couriel dial ve dale of ind earvice in ine recowdn matches Ge Date Pecarved,
12, Sop Sender: |} George R. Garrison
(Name, City, State, and Phone Number} Sevierville, TN
865-453-7990
13. Shipped To Client By: | Regular Mail and Email with PDF Link
14. Tracking Number:
15. Handled By: | 431
16. Notes: | None.

 

 

NOTE: This notice and the intermation above Is provided tor general infermational purposes only and should not be considered a legal opinion. The client and their legal

counsel are solely responsible for reviewing the service of process and verilying the vey of all Information. At Corporate Craatlons, we take pride in developing systems

that effectively manage risk so our clients fee! comfortable with the reliability of our service. We always deliver service of process so our clients avoid the risk of a default

judgment. As registered agent, our role is to receive and forward service of process. To decrease risk for our clients, it is not our role to determine the merits of whether service

e a — i effective. itis the role of legal counset to assess whether service of process is invalid or defective. Registered agent services are provided by Corporate
teations Network Inc.

 

 

 

801 US Highway 1 North Palm Beach, FL 33408 Tal: (561) 694-8107 Fax: (561) 694-1639
www. CorporateCreations.com

Case 3:22-cv-00354-TRM-DCP Document1 Filed 10/06/22 Page 7 of 1

 
STATE OF TENNESSEE
| Circuit Court of Blount County, Tennessee

JAMES LEE KNIGHT and wife,

IN KNIGHT
1168 Ellejoy Road
Seymour, Tennessee 37863

 

Plaintiffs
VS. Civil Summons uy

No. L-2104+
READY MIX USA, LLC
d/b/a READY MIX OF KNOXVILLE Heit GFE LEN ADETE

c/o Registered Agent
Corporate Creations Network, Inc.
205 Powell PL.
Brentwood, Tennessee 37027-7522

Defendant
To the above named Defendant: READY MIX UDA, LLC.,

d/b/a READY MIX OF KNOXILLE

You are hereby summoned and required to serve upon _George R. Garrison, Plaintiff's attorney,

whose address is 1142 Dolly Parton P; iervill 7862 __ an answer to the Complaint which is herewith

served upon you within thirty (30) days after service of this summons upon you, exclusive of the day of service,
and file an answer with this court within five {5) days after answer is made. If you fail to do so, judgment be
default will be taken against you for the relief demanded in the complaint.

Witness, , Clerk of sald court, at office the Ist in, Ma . 20 22- AD.

Ten, Aetchey—
Giedone asiee> Citaut Chet

By: — pda SN
Deputy Clerk

Received this day of ,20__.

 

 

Sheriff-Deputy Sheriff

NOTICE
TO THE DEFENDANT(S):

Tennessee law provides a four thousand ($4,000) personal property exemption from execution or seizure to eatlsty a judgment. Ifa judgment should be!
entered against you in this action and you wish to claim property aa exempt, you must file a written Hat, under oath, of the items you wish to claim as
exempt with the clerk of the court. The list may be filed at any ‘ime and may be changed by you thereafter ag necessary; however, unless it Is filed
before the jutigment becomes final, it will not be effective as to any execution of gamishment Issued prior to the filing of the IIs Certain items are
automatically exempt by law and do not need fo be listed: these include items of necessary wearing apparel for yourself and your family and trunks or
other recaptacies necessary to contain such apparel, famity portraits, the family Bible, and schoo! books. Should any of these itema be seized you
would have the right to recover them. if you do nol understand your exemption right or how to exerclee it, you may with to seek the counsel! of a

 

 

 

lawyer,
Received this day of 20__.
(This Summons |s iesued pursuant to Rule 4 of the Tennessee Rutes of Civil Procedure.) Deputy Sheriff

RETURN ON SERVICE OF SUMMONS

|, heveby certify and return, that on the —dayof 20____, I served this summons together with the

complaint herein as follows:

 

 

Sheriff-Deputy Sheriff

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b 3:22-cv-00354-TRM-DCP Document 1 Filed 10/06/22 OEERNDANT'SPGORY +. 2

 

 

 

Cab
Cas¢d

 

 

 

COUNTY.
FILED
JAMES LEE KNIGHT and wife.
CAITLIN KNIGHT SEP 01 2022
1168 Ellejoy Road TOM HATCHER
LCIRCUIT COURT GLERK
Seymour, Tennessee 37863
™ BIB AM pdane
Plaintiffs
VS. No. L-Z104et
READY MIX USA, LLC. at ae cpt
d/b/a READY MIX OF KNOXVILLE
c/o Registered Agent
Corporate Creations Network, Inc.
205 Powell PI.

Brentwood, Tennessee 37027 - 7522

Defendant

 

COMPLAINT

 

COME THE PLAINTIFF'S JAMES LEE KNIGHT and wife, CAITLIN
KNIGHT, and sues the DEFENDANT, READY MIX USA, LLC., d/b/a READY MIX OF
KNOXVILLE, and for cause of action would show unto this Honorable Court the following:

1. That the Plaintiffs are citizens and residents of Sevier County, Tennessee.

2. That the Defendant Ready Mix USA, LLC., d/b/a Ready Mix of Knoxville, is a

is a Delaware corporation doing business in Tennessee and may be served through the

 

registered agent at the address cited in the caption of this Complaint.
3. The Defendant manufacturers concrete and markets and sells
concrete to contractors and to the general public, including unsophisticated and inexperienced

users and purchasers.

DEFENDANT'S COPY

 

 

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Case 3:2

4. In November, 2021, the homeowners, Phillip H. and Bettina M. Webb, hired
the Plaintiff, James Lee Knight, to finish concrete that they were having delivered to their
home. They contacted the Defendam, and ordered concrete to be delivered to a house they
owned located 7801 Berry Williams Road, Townsend, Tennessee 37882. Defendant delivered
concrete to the Webb’s property on November 12, 2021.

5. The driver of the concrete truck, who Plaintiff alleges was an employee of the
Defendant, poured the wet concrete from the concrete truck through a chute and into the space
where the concrete was to be spread. Plaintiff then began to spread and smooth the concrete.

6. After he completed spreading and smoothing the concrete, Plaintiff noticed that
his legs looked like they were blistered. He washed his legs with a water hose. A short time
later, when Plaintiff was removing his pants, he noticed discoloration on his legs that looked
like a rug bum. He then showered and thoroughly washed and rinsed his entire body,
including the affected areas.

7. What Plaintiff did not realize at the time was that the exposure to the wet
concrete had caused chemical burns to both legs. Over time, Plaintiff's condition began to
worsen and cause pain and he sought medical treatment. Over the course of the next several
days and weeks, he received extensive treatment for the chemical burns on his legs. His
treatment included skin graft surgery at Vanderbilt University Hospital in Nashville,
Tennessee.

8. As a result of the chemical burns caused by the exposure to wet concrete,
Plaintiff has incurred substantial medical expenses and future medical expenses are
anticipated. His injuries have caused him disability and physical and emotional pain. He is
permanently scarred and disfigured. He has suffered a loss or diminution of his ability to

enjoy life.

 

 

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Case 8

 

9, Caitlin Knight was and is the wife of James Lee Knight. As a result of her

husband’s injury, she suffered a loss of his services and consortium.

10. Wet concrete contains caustic materials, including, but not limited to
hexavalent chromium and lime. Exposure to wet concrete can cause serious and potentially
disabling chemical burns and/or dermatitis. Concrete manufacturers and sellers know or show
know that exposure to wet concrete can cause chemical burns and/or dermatitis. Contractors
and employees who regularly work in wet concrete may also be aware of the dangers of
working in wet concrete. However, despite the fact that concrete is a product with which
nearly everyone is generally familiar, Plaintiff avers that the general public is unaware of the
danger of exposure to wet concrete. The fact that wet concrete can cause chemical burns or
dermatitis is beyond the contemplation of any ordinary consumer with ordinary knowledge.
The dangers of wet concrete are not known or apparent to the ordinary user.

11. At the time of his injury, Plaintiff was unaware of the danger of exposure to
wet concrete. Plaintiff's prior experience with concrete was extremely limited. He had never
suffered a chemical burn or dermatitis from exposure to concrete, and he did not know of
anyone else who had. He had never heard of anyone ever suffering injuries as a result of
exposure to wet concrete and he had not idea that wet concrete could cause chemical burns or
dermatitis. The dangers of wet concrete were not apparent to him and they were beyond his
contemplation.

12. Because the dangerous properties of wet concrete are not apparent to the
ordinary user, like Plaintiff, and is beyond the contemplation of the ordinary user with
ordinary knowledge, the Defendant had a duty to adequately warn and instruct Plaintiff about
the danger of exposure to wet concrete and how to protect himself and avoid or minimize the

risk of suffering chemical burns or dennatitis.

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Case $

13. Concrete is not unreasonably dangerous per se. However, when wet concrete
is provided to individuals like the Plaintiff without adequate warnings or instructions, it is
unreasonably dangerous.

14, In the alternative, Plaintiff alleges that the concrete that Defendants
manufactured and provided to the Plaintiff was defective because it contained improper
ingredients and/or an improper mixture of ingredients. Such improper ingredients and/or
improper mixture of ingredients caused the concrete to be defective and/or unreasonably
dangerous.

[5. Plaintiffs allege that Defendant’s are liable to them based on negligence and
strict liability in tort and that the Defendants’ actions were the legal cause of Plaintiff's
injuries and damages as set forth herein.

THEREFORE, PREMISES CONSIDERED, your Plaintiff prays:

l. That proper process issue and this Complaint be served upon the Defendant,
READY MIX USA, LLC., d/b/a READY MIX OF KNOXVILLE LANIGAN through
their registered agent at the address cited in the caption of this Complaint, requiring them to
answer fully and truthfully this Complaint, but their oath to said answer is waived.

2. That a jury of twelve (12) persons try the issues joined.

3. That your Plaintiffs be awarded a Judgment in the amount of FIVE
HUNDRED THOUSAND DOLLARS (§ 500,000.00),

4. That your Plaintiffs be awarded such other, further and general relief as justice
of this cause would require.

5. That the costs of this cause be taxed to the Defendant.

 

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Case 4

RESPECTFULLY SUBMITTED this the. 47) day of 2022.

JAMES LEE KNIGHT and wife,
CAITLIN KNIGHT

 

EORGE R. GARRISON
BPR # 014102
Attomey for the Plaintiffs

1142 Dolly Parton Parkway
Sevierville, Tennessee 37862
(865) 453-7990

E-mail: georgegarrison@volsfirm.net

COST BOND

We, the undersigned, acknowledge ourselves sureties to ali of the costs of this cause as
conditioned as required by law.

-

 

x
SURETY ~ ~

 

 

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FILED
SEP 01 2022

 
     

AMES LEE KNIGHT wif

 

CAITLIN KNIGHT TOM HATCHER
RCUIT COURT
Plaintiffs
VS, NO. L - L£ } D t uy
READY MIX USA, LLC aba Ee VA OGE
READY MIX O LE
Defendant

 

PLAINTIFF'S FIRST SET OF REQUEST FOR PRODUCTION OF DOCUMENTS
TO THE DEFENDANTS

 

COME THE PLAINTIFF'S JAMES LEE KNIGHT and wife, CAITLIN
KNIGHT, and pursuant to Rule 34 of the Tennessee Rules of Civil Procedure, directs the
following request for the production of documents and things to Defendant, Ready Mix USA,
LLC., d/b/a Ready Mix of Knoxville to be responded to fully.

REQUEST NO. 1: Provide a copy of all records of any sales of concrete to Phillip
and Bettina Webb.

ANSWER:

REQUEST NO. 2: Provide a copy of all records pertaining to the manufacturing or
mixing of the concrete that was delivered to Phillip and Bettina Webb on November 12, 2021.

ANSWER:

DEFENDANT'S COPY

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REQUEST NO. 3: Provide a copy of all records listing the ingredients, and the

amount of each ingredient, that were contained in the concrete that was sold and delivered to

Phillip and Bettina Webb on November 12. 2021.

ANSWER:
REQUEST NO. 4: Provide a copy of all policies and procedures related to warning

and instructing any of your employees who work in and around concrete that apply to any
period of time from and after January 1, 2021.

ANSWER:

REQUEST NO. 5: Provide a copy of all policies and procedures related to warming
and instructing purchasers or finishers of concrete that apply to any period to time from and
after January 1, 2021.

ANSWER:

REQUEST NO. 6; Provide a copy of all material safety data sheets, for concrete,
its’ ingredients or components that are the subject of this action.

RESPECTFULLY SUBMITTED this the day of , 2022.

 

ORGE R“GARRISON
BPR # 014102
Attomey for the Plaintiffs

1142 Dolly Parton Parkway
Sevierville, Tennessee 37862
(865) 453-7990

E-mail: georgegarrison@yolsfirm.net

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ATTORNEY’S CERTIFICATE

I, GEORGE R. GARRISON, ATTORNEY, do hereby certify that I have this date
sent a true and exact copy of the foregoing Request For Production Of Documents to

READY MIX USA. LLC

d/b/a READY MEX. OF KNOXVILLE
c/o Registered Agent

Corporate Creations Network, Inc,
205 Powell Pl.

Brentwood, Tennessec 37027 - 7522

 

by serving a copy with the Complaint, this thew) day of , 2022.

|.

GEORGE'R. GARRISON,
ATTORNEY

 

 

 

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